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12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
                                              DISCOVERY MATTER
17

18   THIS DOCUMENT RELATES TO                 JOINT STATUS REPORT
     ALL ACTIONS                              REGARDING THE COURT’S
19                                            APRIL 25 ORDER ON
                                              PLAINTIFFS’ MOTION TO
20                                            COMPEL PRODUCTION OF
                                              DOCUMENTS BY THE NFL
21
                                              Magistrate Judge: Hon. John E.
22                                            McDermott
                                              Discovery Cutoff Date: 8/5/2022
23                                            Pretrial-Conference Date: 2/9/2024
                                              Trial Date: 2/22/2024
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 1         Pursuant to the Court’s April 25, 2023 Order, Dkt. 924, the NFL Defendants
 2   and Plaintiffs submit the following Joint Status Report regarding an order for the
 3   production of documents relating to the new Sunday Ticket agreements and the
 4   preceding negotiations.
 5         1.     On April 27, 2023, Plaintiffs sent to the NFL Defendants a revised
 6   proposal for a search protocol regarding a supplemental production of documents in
 7   response to Request for Production No. 112.
 8         2.     On May 1, 2023, Plaintiffs and the NFL Defendants met and conferred
 9   to discuss that proposal. Later that day, the NFL Defendants submitted a
10   counterproposal to Plaintiffs.
11         3.     On May 4, 2023, Plaintiffs sent to the NFL Defendants a further revised
12   proposal. On May 8, 2023, the NFL Defendants submitted a revised counterproposal.
13   An email chain containing each of the above-cited proposals is attached hereto as
14   Exhibit 1.
15         4.     The parties further met and conferred on May 8, 2023 regarding the
16   various proposals but were not able to reach an agreement on a search protocol. In
17   particular, the parties reached an impasse about the necessity of including the terms
18   “Sunday Ticket” or “NFLST” in every search string, as well as the proper date range
19   for the collection. Later that day, Plaintiffs submitted a further revised proposal to
20   the NFL. The parties have been unable to resolve these issues.
21         5.     The parties have offered the following proposals for search terms:
22         Plaintiffs’ Proposed Search Terms:
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           The NFL Defendants’ Proposed Search Terms:
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 1   Plaintiffs’ Position
 2          6.     Plaintiffs propose search terms that are tailored to capture the NFL’s
 3   communications with and concerning the third parties with which the NFL negotiated
 4   for Sunday Ticket, while also minimizing the concerns raised by this Court about
 5   yielding large amounts of irrelevant documents. Plaintiffs selected these terms after
 6   reviewing the productions made by the NFL and relevant third parties in order to
 7   identify key words and phrases that were germane to those specific negotiations.
 8   Plaintiffs’ proposal pairs these phrases with the names of the known bidders for the
 9   residential and commercial rights to Sunday Ticket as an additional means of
10   reducing the potential of yielding irrelevant documents. Plaintiffs also included the
11   last names of NFL personnel known to have communicated with the three selected
12   custodians about these negotiations. Lastly, Plaintiffs included a term of the last
13   names of the third-party individuals that Plaintiffs know were communicating with
14   the NFL about Sunday Ticket. In arriving at this proposal, Plaintiffs endeavored to
15   eliminate generic terms that might sweep in communications unrelated to Sunday
16   Ticket. Considering the limited number of custodians and the limited time frame from
17   which documents will be collected, Plaintiffs’ proposal imposes a burden on the NFL
18   that is proportional to the needs of this antitrust case—considering the billions of
19   dollars at stake and the fact that the Court has certified two classes for purposes of
20   litigation of the merits.
21          7.     Plaintiffs have endeavored to negotiate in good faith with the NFL
22   Defendants. Plaintiffs have made several proposals, each narrower than the one
23   before, in an attempt to reach a negotiated solution. A comparison of the search terms
24   proposed initially in Plaintiffs’ motion to compel, see Dkt. 914-5 at 3-4 (Finn Decl.,
25   Ex. 6), with Plaintiffs’ proposal above makes that abundantly clear. Plaintiffs’
26   proposed terms focus on the names of the known bidders for Sunday Ticket, the
27   domain names of those bidders, or reference to either Sunday Ticket
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                                                                                 After the
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 1   Court expressed concern that Plaintiffs’ proposed terms “contain[ed] phrases as
 2   general as ‘YT” or ‘Google’ that would yield thousands of irrelevant documents that
 3   the NFL would have to review for responsiveness,” Dkt. 924 at 6, Plaintiffs
 4   significantly narrowed their proposal. To reduce the number of unresponsive
 5   documents, Plaintiffs proposed pairing commonly used terms such as “Google,” or
 6              with phrases specific to Sunday Ticket that Plaintiffs identified from prior
 7   productions, such as “a la carte” and “out of market” (Sunday Ticket is a package of
 8   “out of market” games that previously was unable to be purchased on an “a la carte”
 9   basis). During the discussions about that proposal, the NFL Defendants contended
10   that the proposed terms would sweep in too many false positives, but without
11   providing any additional information to support that conclusion. Nevertheless,
12   Plaintiffs further narrowed their proposal, ensuring that a term referring to Sunday
13   Ticket was paired with a name of a third party and vice versa. Finally, Plaintiffs
14   submitted a third proposal that further narrows the search terms by removing
15   potentially generic terms such as “cap”, “deal”, “fee”, “linear”, “local”, “on-
16   demand”, and “virtual.” As each of the terms contemplated by the final proposal is
17   specific to Sunday Ticket, the proposal should not yield large amounts of
18   unresponsive documents. For example, there is no reason to believe that either of the
19   three custodians would employ the term “out-of-market” and the name of one of the
20   identified bidders in a communication that does not relate to Sunday Ticket. The NFL
21   now claims that the proposed terms are too “complicated,” but that complexity
22   reflects Plaintiffs’ efforts to capture relevant documents without reliance on
23   “generic” terms.
24         8.    The NFL contends that all of the search terms must include “Sunday
25   Ticket” or its common abbreviation “NFLST.” But as Plaintiffs have consistently
26   pointed out to the NFL, not all relevant communications expressly state “Sunday
27   Ticket” or “NFLST.”
28               —which include communications with the NFL and therefore should be
     in the NFL’s possession, custody, or control—exemplify why the NFL’s limitation
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 1   to only documents including “Sunday Ticket” or “NFLST” is too restrictive.
 2   Examples of relevant documents that do not use either of those terms are attached
 3   here as Exhibits 2-5. Exhibit 2, for example,
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 7             See Exs. 3-4. Lastly, Exhibit 5, an email concerning the pricing of Sunday
 8   Ticket uses only the term “ST.” 1
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10                  And the NFL itself has produced emails that refer to Sunday Ticket
11   only in the attachment (and hence were picked up by the deficient search term).
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       The NFL Defendants maintain that the term “ST” would sweep in all words that
19   contain this combination of letters, such as last. Plaintiffs responded by modifying
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     that particular term to “ ST ”, i.e., with a space on each side of the word. Nevertheless,
     the NFL has refused to include that term.
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28                                                     Denial of that fact is nothing short
     of an effort to hide relevant documents from Plaintiffs and the trier of fact. Plaintiffs
     are not required to prove exactly what documents exist. Such a requirement would
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 2                    Although Plaintiffs have raised the concern about the inadequacy of
 3   the (“Sunday Ticket” or “NFLST”) term on numerous occasions, the NFL
 4   Defendants refuse to budge from their position. And they do not even attempt to
 5   engage with this issue—the key disagreement between the parties—in their portion
 6   of the joint status report.
 7          9.     Indeed, the NFL Defendants have refused to engage in any meaningful
 8   compromise over the search protocol. Their counterproposal barely deviates from the
 9   position they took before this motion was filed—a combination of domain names
10   with the term “Sunday Ticket.” Their intransigence ignores the Court’s conclusion
11   that “the problem is the search term that was plainly inadequate to capture all or
12   most communications regarding Sunday Ticket negotiations.” Dkt. 924 at 7
13   (emphasis added). The NFL Defendants insist on the necessity of their terms but have
14   not reviewed documents collected from the three custodians at issue to determine
15   whether Plaintiffs’ proposed terms (or any other terms) are used in responsive
16   documents. They have similarly refused to identify any specific terms proposed by
17   Plaintiffs that are driving the alleged burden of implementing the protocol. Nor have
18   they provided Plaintiffs with any estimate of the number of documents. The NFL
19   Defendants nonetheless insist that implementing the proposed protocol imposes a
20   burden that is not proportional to the needs of the case.
21          10.    The NFL Defendants once again overstate the burden associated with
22   Plaintiffs’ request. Plaintiffs seek documents from only three individuals over a
23   period spanning less than two years. The limited nature of the search casts further
24   doubts on the claim that the proposed terms would yield thousands of unresponsive
25   documents. Neither Plaintiffs nor this Court have any basis to assess the veracity of
26   those claims of burden because the NFL Defendants refuse to provide any
27   information on the quantity of documents produced by each proposed search string.
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     impose an impossible standard that is inconsistent with the Federal Rules of Civil
     Procedure.
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 1   This information is evidently available to the NFL Defendants. And they used this
 2   informational asymmetry to their advantage during the negotiation process by citing
 3   to their document vendor’s estimate of the time it will take to conduct a first-level
 4   review. Until the drafting of this joint status report, the NFL Defendants refused to
 5   provide Plaintiffs with any context about how their vendors arrived at that estimate
 6   or identify which search terms are driving it. 3 Consequently, the Court should not
 7   credit their claims of burden. See Cty. of Cook v. Bank of Am. Corp., 2019 WL
 8   5393997, at *6 (N.D. Ill. Oct. 22, 2019) (granting motion to compel and concluding
 9   that “the burden position taken by the [producing party] is without any factual
10   support” because it produced no representative sampling or comparison of proposed
11   searches); L-3 Commc’ns Corp. v. Sparton Corp., 313 F.R.D. 661, 670 (M.D. Fla.
12   2015) (“If confronted with a search term they believe is overly burdensome,
13   Defendants have an obligation not just to assert their objection but explain the
14   grounds for the objection and to point to evidence supporting it.”). “[C]ounsel may
15   not use his superior information as to the location or nature of responsive documents
16   to thwart good faith discovery requests by refusing to engage cooperatively to
17   identify ... the search terms likely to produce responsive documents.” Id. (internal
18   quotation marks omitted). Moreover, the NFL’s claim of the time it would take to
19   review documents has nothing to do with the separate question of whether those
20   documents are irrelevant to the issue at hand. Instead, it clearly could mean that there
21   are significant numbers of responsive documents that the NFL has kept obscured
22   from discovery in this case and should be produced.
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        The declaration of Danielle Garvey is the first instance in which the NFL
     Defendants have provided Plaintiffs with any context for their claims of burden,
25   beyond an unexplained estimate of the amount of time it would take to perform a
26   first-level review. Even the declaration omits facts that are material to an assessment
     of the burden associated with Plaintiffs’ proposal. First, it fails to connect the alleged
27   burden with any specific search terms, hampering the ability to formulate a narrowed
28   proposal. Second, it makes no claims about the number of documents or review-
     hours required by the NFL’s proposed search terms, which in turn prevents any
     meaningful comparison of the burden associated with the two proposals.
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  1         11.    Any burden associated with Plaintiffs’ proposal is proportional to the
  2   needs of this case. This is true even if one accepts the NFL Defendants’ unexplained
  3   estimate that Plaintiffs’ (since-narrowed) proposal would require six weeks of
  4   review. Each of the proportionality factors outlined in Rule 26(b)(1) counsel in favor
  5   of production in this case, considering the billions of dollars in controversy, the NFL
  6   Defendants’ privileged access to the relevant information, the resources of the NFL
  7   Defendants, and the importance of discovery in resolving the issues. See Fed. R. Civ.
  8   P. 26(b)(1). As to the last factor, this Court has ruled on two separate occasions that
  9   the documents sought by RFP 112 are material to Plaintiffs’ case. When considered
 10   in the context of this billion-dollar litigation in which a class has already been
 11   certified, the likely benefit of Plaintiffs’ requested discovery outweighs the
 12   associated burden and expense.
 13         12.    Lastly, the parties disagree on the date range of the supplemental
 14   production. In light of the Court’s ruling that the search term was “plainly
 15   inadequate,” Plaintiffs seek a supplemental search of documents dating back to May
 16   2021—when the prior, inadequate search terms were first employed. If the search
 17   term was inadequate for the latest production, it was also inadequate for the former
 18   production. The NFL Defendants nonetheless insist that the new search terms should
 19   be applied only to the documents collected from April 2022 to the present, because
 20   Plaintiffs objected to the January 27, 2023 production but not to the prior May 7,
 21   2022 production. That argument misses the point. Rule 26(e) entitles Plaintiffs to a
 22   supplementation whenever a document production is incomplete in some material
 23   respect. That incompleteness applies equally to both date ranges.
 24   NFL Defendants’ Position
 25         13.    As the Court is well aware, over the past weeks the parties have been
 26   meeting and conferring in an attempt to reach agreement on the search terms to be
 27   used for a supplemental production of documents in response to Plaintiffs’ Request
 28   for Production No. 112, which seeks documents relating to the negotiations for the
      recently executed Sunday Ticket agreements. The NFL Defendants had hoped to
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  1   avoid burdening the Court with this issue, but Plaintiffs have insisted on search terms
  2   unrelated to Sunday Ticket that will, by design, sweep in an unacceptable number of
  3   non-responsive, irrelevant documents.          Plaintiffs’ proposed search terms are
  4   overbroad and would impose undue burdens that are not proportionate to the needs
  5   of the case. Plaintiffs have also insisted that the NFL Defendants search documents
  6   dating back well before Plaintiffs’ recent concerns were raised, only exacerbating the
  7   burden to the NFL Defendants.
  8         14.    Application of Plaintiffs’ proposal is estimated to require approximately
  9   1,700 person-hours for first-level review alone. Barber Ex. A (Declaration of
 10   Danielle Garvey, Esq., in Support of Defendants’ Position for the Joint Status Report,
 11   at 2). This is far from the “modest relief” Plaintiffs claim they were seeking when
 12   asking for additional discovery months after the close of fact discovery. See Barber
 13   Ex. B (Dkt. 555-1), at 1 (requesting the Court to “grant the modest relief”); id. at 2
 14   (“Plaintiffs request permission to take limited document and deposition discovery
 15   about the new agreement after August 5.”); id. at 13 (“Plaintiffs’ request for
 16   supplementary document productions in this area is modest and bounded.”).
 17         15.    The NFL Defendants have, on the other hand, proposed search terms
 18   that are designed to address Plaintiffs’ stated concerns and are focused on those time
 19   periods during which Plaintiffs raised concerns about the scope of the NFL
 20   Defendants’ productions. The Court should adopt the NFL Defendants’ proposed
 21   search terms.
 22         16.    Plaintiffs’ most-recent search term proposal includes 11 different
 23   complicated and overly broad strings of search terms.4 A review of these proposed
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        Plaintiffs insist that the NFL Defendants use “ST” as one of the terms in 10 of the
 26   11 lengthy search phrases they propose and claim above that adding a space on each
      side of the word would not prevent thousands of non-responsive documents from
 27   being swept into the search. The search logic of the document database ignores
 28   punctuation and as such the use of ST as a search term would capture any document
      that references the abbreviation for the word street—a term used very frequently in
      an email sender or recipient’s address or signature block. That term, even with
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  1   search terms makes clear that they are not designed to focus on the actual topic of
  2   RFP No. 112—the negotiations for the new rights to Sunday Ticket. Instead, they
  3   are designed to capture nearly all internal NFL communications that merely mention
  4   the names of a wide array of third parties, some of whom did not even bid on the
  5   Sunday Ticket rights and others of whom have relationships with the NFL that have
  6   nothing to do with Sunday Ticket.
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 10                                             And both have independent relationships
 11   with the NFL unrelated to NFL Sunday Ticket such that it would be expected that
 12   Plaintiffs’ search term would capture an excessive number of non-responsive
 13   documents.5
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 22   spaces, would also capture every use of the word St. Louis, which is the former home
      of the Los Angeles Rams.
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  3         18.   The burden is further increased by the fact that Plaintiffs ultimately seek
  4   to apply around 900 pairs of terms as independent search criteria, many of which rely
  5   on common business terms. For example, application of broad terms such as “pric*”
  6   or “rights” in connection with the names of the NFL’s business partners is certain to
  7   sweep in large numbers of nonresponsive documents. These problems are further
  8   exacerbated by Plaintiffs’ proposal to use as independent search terms a range of
  9   common surnames, including
 10         19.   Plaintiffs further suggest above that
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  1          20.    Similarly, Plaintiffs demand that the NFL Defendants search documents
  2   dating back to May 2021. This expansion defies both Plaintiffs’ actual request as
  3   well as the Court’s order regarding continuing production of documents related to
  4   Sunday Ticket negotiations. Barber Ex. D (January 31, 2023 Letter from T. Finn to
  5   J. Barber, at 2) (requesting supplemental production of documents related to current
  6   negotiations for Sunday Ticket “from the timeframe of April through December
  7   2022.”); Dkt. 645 at 2 (“This production shall comprise documents dating from April
  8   4, 2022 to the date on which an agreement is reached collected from the custodians
  9   agreed-upon by the parties using the electronic search terms agreed-upon by the
 10   parties.”).
 11          21.    Because of the overbreadth of Plaintiffs’ proposal, the NFL Defendants
 12   estimate that a first level review of documents that hit on Plaintiffs’ proposed search
 13   terms would take a team of reviewers working full-time approximately six to nine
 14   weeks to complete. Barber Ex. A (Declaration of Danielle Garvey, Esq., in Support
 15   of Defendants’ Position for the Joint Status Report, at 3). And it would take
 16   additional time for “all of the other tasks related to preparing production: second-
 17   level quality control review; production staging; application of redactions and/or
 18   slipsheets where appropriate; and privilege logging.” Id.
 19          22.    Plaintiffs attempt to justify this significant burden by arguing, without
 20   basis, that the burden “could mean that there are significant numbers of responsive
 21   documents that the NFL has kept obscured in this case and should be produced.” See
 22   supra at 9. To the contrary, as the NFL Defendants have explained on multiple
 23   occasions, it does not expect that there are a significant number of unproduced
 24   documents related to the recent negotiations. And any argument that speculates that
 25   there “could” be responsive documents is without merit; Plaintiffs do not have the
 26   right to “[d]iscovery to pursue a suspicion or hunch.” Prasad v. George Washington
 27   University, 323 F.R.D. 88, 94 (D.D.C. 2017).
 28          23.    Because Plaintiffs have not “fashioned a set of search terms reasonably
      calculated to retrieve the information responsive to [their] requests,” their proposal
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  1   should be rejected. See id. at 93; see also Curtis v. Alcoa, 2008 WL 11342561, at
  2   *3 (E.D. Tenn. Mar. 25, 2008) (“the Court further finds that an electronic search
  3   using the terms ‘vest’, ‘handshake’, and ‘175%’ is reasonably calculated to lead to
  4   the discovery of admissible evidence, but, because of the likelihood that the term will
  5   be used in association with matters outside the scope of the instant litigation, that any
  6   electronic search using these terms must be limited by the use of additional search
  7   terms.”).
  8            24.   The NFL Defendants, on the other hand, have proposed search terms
  9   that are reasonably designed to retrieve information responsive to Plaintiffs’ RFP No.
 10   112. Specifically, the NFL Defendants have proposed the following two search
 11   terms:
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 16            25.   These searches would capture all communications with the parties who
 17   negotiated for the current residential or commercial NFL Sunday Ticket rights that
 18   reference Sunday Ticket, as well as all internal NFL communications that reference
 19   Sunday Ticket within 20 words of the names of any of those parties. These are
 20   precisely the types of communications Plaintiffs claim, based on unsupported
 21   accusations, are missing from the NFL Defendants’ recent productions. See, e.g.,
 22   Barber Ex. D (January 31, 2023 Letter from T. Finn to J. Barber, at 1) (arguing that
 23   the NFL Defendants’ previous production “includes hardly any communications
 24   between the NFL and the various third parties who sought the rights to broadcast
 25   NFL Sunday Ticket.”); Dkt. 914-01 (April 4, 2023 Joint Stipulation for Motion to
 26   Compel), at 12 (explaining that terms would be “properly limited to specific
 27   counterparties with whom the NFL was negotiating for the rights to Sunday Ticket.”).
 28            26.   The NFL Defendants would run these terms for the time frame from
      April 1, 2022, through the date the recent agreements were executed, the exact date
                                                 15
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  1   range Plaintiffs identified in their January letter, Barber Ex. C (January 31, 2023
  2   Letter from T. Finn to J. Barber, at 2), and referenced in the Court’s order on this
  3   topic. Dkt. 645 at 2 (ordering productions responsive to RFP No. 112 “dating from
  4   April 4, 2022 to the date on which an agreement is reached.”).
  5         27.   The Court should adopt the NFL Defendants’ proposed search terms,
  6   which are appropriately designed to focus on the requested information, while
  7   avoiding the unnecessary burdens that Plaintiffs’ proposal would impose.
  8

  9
         Dated: May 9, 2023           Respectfully submitted,
 10

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